                   Case 15-50010
  Fill in this information                  Doc
                           to identify the case:     24      Filed 12/17/15 Entered 12/17/15 09:00:58                               Desc Main
                                                               Document     Page 1 of 9
  Debtor 1                 Mark Henry Kokoska, Sr
  Debtor 2
  (Spouse, if filing)
  United States Bankruptcy Court for the: Middle District of Georgia (Macon)
  Case number              15-50010

Official Form 410S1
Notice of Mortgage Payment Change
If the debtor¶s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the debtor¶s principal residence,
you must use this form to give notice of any changes in the installment payment amount. File this form as a supplement to your proof of claim at least 21 days
before the new payment amount is due. See Bankruptcy Rule 3002.1.

 Name of Creditor: BANK OF AMERICA, N.A.                                                Court claim no. (if known):           5
 Last 4 digits of any number you use to identify                                        Date of payment change:
 the debtor's account:      0784                                                        Must be at least 21 days after date of this notice       02/01/2016
                                                                                        New total payment:
                                                                                                                                                 $568.65
                                                                                        Principal, interest, and escrow, if any




Part 1: Escrow Account Payment Adjustment
   1. Will there be a change in the debtor's escrow account payment?
          No
            Yes         Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law.
                        Describe the basis for the change. If a statement is not attached, explain why:



                                Current escrow payment:         $169.63                         New escrow payment:               $172.78

Part 2: Mortgage Payment Adjustment
   2. Will the debtor's principal and interest payment change based on an adjustment to the interest rate in the debtor's variable-
   rate note?
           No
             Yes        Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law.
                        If a notice is not attached, explain why:



             Current interest rate:                                                          New interest rate:
             Current principal and interest payment:                                         New principal and interest payment:

Part 3:         Other Payment Change
   3. Will there be a change in the debtor's mortgage payment for a reason not listed above?
             No
             Yes        Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan
                        modification agreement. (Court approval may be required before the payment change can take effect.)
   Reason for change:


             Current mortgage payment:                                                 New mortgage payment:




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Part 4: SignCase
            Here      15-50010         Doc 24       Filed 12/17/15 Entered 12/17/15 09:00:58                        Desc Main
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The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and telephone number.

Check the appropriate box:
     I am the creditor.

     I am the creditor's authorized agent.

I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my knowledge, information,
and reasonable belief.
      /s/ Luisa Amador                                                     Date 12/17/2015
      Assistant Vice President


Print: Luisa Amador                                                        Title Assistant Vice President

Company     Bank of America, N.A.                                               Specific Contact Information:
Address     2380 Performance Dr.                                                Phone: 214-209-8449
            Richardson, TX 75082                                                Email: luisa.amador@bankofamerica.com




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                            UNITED STATES  BANKRUPTCY
                                      Document Page 3 of 9 COURT
                                                      Middle District of Georgia (Macon)
                                                                          Chapter 13 No. 15-50010
 In re:                                                                   Judge: Judge James P. Smith
 Mark Henry Kokoska, Sr
                                                  Debtor(s).

                                                   CERTIFICATE OF SERVICE
 I hereby certify that on December 17, 2015, I have served a copy of this Notice and all attachments to the following by U.S. Mail, postage prepaid,
 or via filing with the US Bankruptcy Court's CM ECF system.
 By U.S. Postal Service First Class Mail Postage Prepaid:

 Debtor:                    Mark Henry Kokoska, Sr
                            122 Lakeside Circle
                            Jackson, GA 30233



 Debtor's Attorney:         R. Jeffrey Field
                            Jeff Field & Associates
                            342 North Clarendon Avenue
                            Scottdale, GA 30079


 Trustee:                   Camille Hope
                            Office of the Chapter 13 Trustee
                            P.O. Box 954
                            Macon, GA 31202


                                                                          /s/ Frances Bell
                                                                          4 S Technologies, LLC
                                                                          (as authorized agent for Bank of America, N.A.)
                                                                          200 Sheffield St., Suite 101
                                                                          Mountainside, NJ 07092
                                                                          (908) 588-9650
                                                                          franbell@4stechnologies.com




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